                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
 In re: Kevin D. Smith a/k/a Kevin Daniel      CHAPTER 7
 Smith a/k/a Kevin Smith,
         Debtor.                               BANKRUPTCY CASE NUMBER
 ____________________________                  18-03767/JJT
 Nationstar Mortgage LLC d/b/a Mr. Cooper
 as servicer for The Bank of New York Mellon   11 U.S.C. § 362
 f/k/a The Bank of New York as Trustee for
 First Horizon Alternative Mortgage Securities
 Trust 2005-FA8,
         Movant,
 v.
 Kevin D. Smith a/k/a Kevin Daniel Smith
 a/k/a Kevin Smith,
         Debtor,

 John J. Martin, Esquire, Trustee,
   Additional Respondent.

MOTION OF NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER AS SERVICER FOR
THE BANK OF NEW YORK MELLON F/K/A THE BANK OF NEW YORK AS TRUSTEE
 FOR FIRST HORIZON ALTERNATIVE MORTGAGE SECURITIES TRUST 2005-FA8
      FOR RELIEF FROM THE AUTOMATIC STAY UNDER SECTION 362 (d)

       Nationstar Mortgage LLC d/b/a Mr. Cooper as servicer for The Bank of New York

Mellon f/k/a The Bank of New York as Trustee for First Horizon Alternative Mortgage

Securities Trust 2005-FA8 ("Movant"), hereby moves for relief from the automatic stay under

section 362(d) and, by its undersigned counsel, avers the following in support of the said motion:

       1.      Debtor, Kevin D. Smith a/k/a Kevin Daniel Smith a/k/a Kevin Smith ("Debtor"),
               filed a petition under Chapter 7 of the Bankruptcy Code in the Middle District of
               Pennsylvania under the above case number.

       2.      Movant is the holder of a secured claim against Debtor secured only by a first
               mortgage lien on real estate which is the principal residence of Debtor located at
               3178 Leisure Lands Road f/k/a 45 Clubhouse Drive, East Stroudsburg, PA 18301
               (the "Mortgaged Premises").

       3.      The filing of the aforesaid Petition operated as an automatic stay under Section
               362(a) of the Bankruptcy Code of proceedings to foreclose the mortgage on the
               Mortgaged Premises.




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      4.       Movant services the loan on the property referenced in this motion for relief. In
               the event the automatic stay in this case is modified, this case dismisses and/or the
               debtor obtains a discharge and a foreclosure action is commenced on the
               mortgaged property, the foreclosure will be conducted in the name of The Bank of
               New York Mellon f/k/a The Bank of New York as Trustee for First Horizon
               Alternative Mortgage Securities Trust 2005-FA8.

      5.       Movant, directly or through an agent, has possession of the promissory note. The
               promissory note is either made payable to Noteholder or has been duly indorsed
               in blank. Noteholder is the original mortgagee, or beneficiary, or the assignee of
               the security instrument for the referenced loan.

      6.       Debtor has not claimed an exemption in the subject property.

      7.       Debtor has failed to make pre-petition and all post-petition monthly mortgage
               payments.

      8.       The defaults include the following monthly payments and charges:

      a)       Payments of $1,011.95 from November 1, 2017 through November 1, 2017 which
               totals $1,011.95;

      b)       Payments of $993.01 from December 1, 2017 through July 1, 2018 which totals
               $7,944.08;

      c)       Payments of $1,026.49 from August 1, 2018 through October 1, 2018 which totals
               $3,079.47;

      d)       Suspense Balance $88.05;

      e)       The total amount due (8(a) through 8(d) combined) is $11,947.45

      9.       The Fair Market Value of the Property is $88,943.00, as per Debtor’s Schedules.
               The approximate amount necessary to pay off the loan is $116,586.61 good
               through October 15, 2018. The breakdown of the payoff is as follows:

           Principal Balance                                                            $108,003.25
           Accrued Interest                                                               $3,559.04
           Escrow Advances made by Plaintiff                                              $2,875.85
           Corporate Advance                                                              $2,236.52
           Suspense Balance                                                                ($88.05)

      10.      Movant is entitled to relief from the automatic stay because of the foregoing
               default and because:




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               a)      Movant lacks adequate protection for its interests in the Mortgaged
                       Premises;

               b)      Debtor does not have any equity in the Mortgaged Premises; and

               c)      The Mortgaged Premises are not necessary to an effective reorganization
                       or plan.

       11.     Debtor has indicated in their Chapter 7 Statement of Intention that they wish to
               surrender the Property.

       12.     Movant requests that the Court waive Rule 4001(a)(3), permitting Movant to
               immediately implement and enforce the Court's order.

       13.     Attached are redacted copies of any documents that support the claim, such as
               promissory notes, purchase order, invoices, itemized statements of running
               accounts, contracts, judgments, mortgages, and security agreements in support of
               right to seek a lift of the automatic stay and foreclose if necessary.

         WHEREFORE, Movant respectfully moves this Court for an Order (i) granting Movant
relief from the automatic stay to foreclose upon and to otherwise exercise and enforce its rights
with respect to the Mortgaged Premises, (ii) awarding reasonable attorneys' fees incurred in the
preparation and presentation of this motion, and (iii) granting all such other and further relief as
the Court deems appropriate and necessary. A proposed order to such effect is submitted
herewith.

                                                      Respectfully submitted,



Dated: October 18, 2018                               BY: /s/ Kevin S. Frankel
                                                      Kevin S. Frankel, Esquire
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